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VIDEO STATUS CONFERENCE (Informal)

       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

Date: August 18, 2022
Judge B. Lynn Winmill                       Deputy Clerk: Jamie Gearhart
Case No. 1:22-cv-329                        Reporter: Hearing not recorded – off the record
Place: Video                                Time: 8:02 – 8:08 a.m.


UNITED STATES OF AMERICA v. STATE OF IDAHO

Counsel for Plaintiff: Daniel Schwei, Brian Netter, Lisa Newman, Anna Deffebach, and
Christopher Eiswerth

Counsel for Defendant: Brian Church, Steven Olsen, and Joan Callahan

Counsel for Intervenor: Monte Stewart and Daniel Bower


 The Court held an informal status conference to discuss the logistics of the upcoming hearing
scheduled for August 22, 2022 at 9:00 a.m.

The Court allocated 45 minutes of oral argument to each side.
